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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 Jose O. Torres,                             Hon. Madeline Cox Arleo

        Plaintiff,                           Civil Action No. 2:22-cv-4662
                                             (MCA)(CLW)
   v.

 Sher Tremonte, LLP, Justin M. Sher,         Civil Action
 Michael Tremonte, Noam Korati Biale, Anna
 Maria Estevao, Tor Ekeland Law, PLLC, Tor
 Ekeland, Jessica Coonrod, Argentino Fiore
 Law Advocacy, LLC, Jodi Argentino,
 Celeste Fiore, Frank Morano,

        Defendants.




     BRIEF IN OPPOSITION TO PLAINTIFF JOSE O. TORRES’S MOTION FOR
                          INJUNCTIVE RELIEF




Of Counsel and On the Brief
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On the Brief
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                                   PRELIMINARY STATEMENT

          Sher Tremonte, LLP ("Sher Tremonte"), Justin M. Sher, Esq. ("Sher"), Michael

Tremonte, Esq. ("Tremonte"), Noam Korati Biale, Esq. ("Noam"), and Anna Maria Estevao, Esq.

("Anna") (collectively shall be referred to as "Sher Tremonte Defendants" or "Defendants")

respectfully submit this brief in opposition to Plaintiff’s Motion for Injunctive Relief seeking to

freeze Sher Tremonte Defendants’ assets, or in the alternative not to conceal or dissipate Sher

Tremonte Defendants’ assets filed by Plaintiff Joes O. Torres’ (“Plaintiff” or “Torres”). Plaintiff

has filed this motion seeking injunctive relief for Sher Tremonte Defendants to freeze their

businesses and assets in the amount of $52,561,500. For several reasons, discussed below,

Plaintiff has failed to set forth sufficient facts or law to establish a right to preliminary injunctive

relief.

                                      STATEMENT OF FACTS

          Plaintiff has filed this motion while in prison awaiting a criminal trial for several counts

of coercion and enticement to engage in the promotion of prostitution. Sher Tremonte

Defendants have already filed a motion to dismiss Plaintiff’s Amended Complaint and rely upon

their argument that Plaintiff has not sustained any cause of action under the federal Racketeering

Influenced Conduct Organizations Act (“RICO”) 18 U.S.C. §1962(c), Money Laundering 18

U.S.C. §1956(h), and coercion and enticement in violation of 18 U.S.C. §2422(a). (See Sher

Tremonte Defendants Motion to Dismiss ECF 29). Plaintiff has been accused of promising sex

workers large sums of money to enter New Jersey and engage in prostitution via interstate

commerce. Plaintiff has thus brought this current action against Sher Tremonte Defendants

accusing them of manufacturing false narratives of Plaintiff and working with the sex workers

and federal government to plot his arrest. Plaintiff now demands the Court grant him injunctive



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relief by applying a freeze on Sher Tremonte Defendants’ accounts and assets so he may be

guaranteed damages in the future.



                                      LEGAL ARGUMENT

             PLAINTIFF CANNOT ESTABLISH THE REQUIREMENTS TO
                         SATISFY INJUNTIVE RELIEF

       Plaintiff has submitted to the court a motion for preliminary injunctive relief to freeze

Sher Tremonte defendants’ assets, and in the alternative order Sher Tremonte defendants from

concealing, dissipating, converting, selling, etc… all business and personal assets up to the sum

of $52,561,500.00. Upon first glance, it is clear Plaintiff cannot obtain any injunctive relief.

Moreover, Plaintiff cannot provide the court with a semblance of evidence to meet the high

standards of injunctive relief.

       To obtain a preliminary injunction, the Plaintiff must establish: “(1) a likelihood of

success on the merits; (2) that [he] will suffer irreparable harm if the injunction is denied; (3) that

granting preliminary relief will not result in even greater harm to the nonmoving party; and (4)

that the public interest favors such relief.” Lane v. New Jersey, 725 F. App'x 185, 187 (3d Cir.

2018) (quoting Kos Pharm., Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004)). The Court

should issue the injunction only if the movant produces evidence sufficient to convince the trial

judge that all four factors favor preliminary injunctive relief. Id. at 708 (3d Cir. 2004). Although

the Court must generally weigh all four of these factors, “a movant cannot be granted a

preliminary injunction unless it establishes both of the first two factors, i.e., likelihood of success

on the merits and irreparable harm.” Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d

1343, 1350 (Fed.Cir.2001). Moreover, it is well established that temporary or preliminary

injunctive relief is “an extraordinary remedy” and “should be granted only in limited



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circumstances.” Kos Pharm, 369 F.3d at 708 (3d Cir. 2004) (quoting American Tel. & Tel. Co. v.

Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 (3d Cir. 1994)).

         Although Plaintiff avers that he has somehow met this standard by concocting conclusory

allegations against defendants, it is clear that his efforts will fail. Plaintiff asserts that his request

for injunctive relief should be granted due to the sheer fact that he is “easily able to establish

each of the elements for substantive and conspiracy to money laundering charges.” (See

Amended Complaint pp. 7). However, this is absolutely not the case. As argued in Sher

Tremonte Defendant’s motion to dismiss, Plaintiff has failed to provide this court with enough

evidence to even state a claim, let alone that he is likely to win this case at trial. (See Sher

Tremonte Defendants Motion to Dismiss ECF filing 29).

    I.      Likelihood of Success on the Merits

    First, Plaintiff must establish a likelihood of success on the merits, namely that he will likely

succeed in this civil action for violation of conspiracy under the RICO statute, money laundering,

and aiding and abetting the promotion of prostitution. In order to establish likelihood of success

on the merits, Plaintiffs must show that Defendants' invalidity defenses lack substantial merit.

Altana Pharma AG v. Teva Pharm. USA, Inc., 532 F. Supp. 2d 666, 673 (D.N.J. 2007), aff'd, 566

F.3d 999 (Fed. Cir. 2009) (citing Abbott Labs. v. Andrx Pharmaceuticals, Inc., 452 F.3d 1331,

1335 (Fed.Cir.2006). Put more simply, if defendants have raised a substantial question of

invalidity of the allegations, plaintiff is not entitled to a preliminary injunction. Id.

         Sher Tremonte Defendants have, in fact, raised several substantial claims of invalidity on

behalf of Plaintiff’s allegations. Sher Tremonte Defendants recently filed a motion to dismiss for

failure to state a claim upon which relief may be granted. (See Motion to Dismiss ECF No. 29).

Sher Tremonte Defendants provided the Court with substantial information regarding Plaintiff’s




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conclusory allegations, and his failure to meet a prime facie claim under RICO, money

laundering, and aiding and abetting of the promotion of prostitution. (Id.) It is clear that Plaintiff

will likely not be able to survive the motion to dismiss, let alone a likelihood of the success on

the merits.

   Sher Tremonte Defendants are still awaiting an opposition, however, their question of

invalidity of the pleadings is enough for the court to determine that Plaintiff has failed to meet

the first prong to establish a preliminary injunctive relief.

   II.        Plaintiff Cannot Establish Irreparable Harm

         As stated above, the federal courts require that Plaintiff show an irreparable injury in

establishing a claim for injunctive relief. In order to meet the requirements for such irreparable

injury, a plaintiff must show a harm that cannot be redressed by any legal or equitable remedy,

moreover the preliminary injunction must be the only way to protect a plaintiff from harm.

Instant Air Freight Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 801 (3d Cir. 1989) (emphasis

added). “[A] failure to show a likelihood of success or a failure to demonstrate irreparable injury

must necessarily result in the denial of a preliminary injunction.” In Re Arthur Treacher's

Franchisee Litigation, 689 F.2d 1137, 1143 (3d Cir.1982). Finally, “[e]stablishing a risk of

irreparable harm is not enough. A plaintiff has the burden of proving a ‘clear showing of

immediate irreparable injury.’” Hohe v. Casey, 868 F.2d 69, 72 (3d Cir. 1989) (quoting ECRI v.

McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987)).

         In Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 506 U.S. 308 (1999),

The Supreme Court found that a federal court lacks the power to issue an injunction that freezes

assets in an action simply for damages when a plaintiff does not make a claim for equitable

relief. (The Supreme Court held that prior to entry of money judgment, the district court lacked




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power to issue a preliminary injunction preventing operator from transferring assets in which no

lien or equitable interest was claimed). For purposes of seeking a preliminary injunction to freeze

assets, demonstrating irreparable harm requires “a showing that plaintiff [is] likely to become

entitled to the encumbered funds upon final judgment and a showing that without the preliminary

injunction, plaintiff[sic] will probably be unable to recover those funds.” Juul Labs, Inc. v. 4X

PODS., 439 F. Supp. 3d 341, 358 (D.N.J. 2020), appeal dismissed sub nom. JUUL Labs Inc. v.

4x Pods, 20-1490, 2020 WL 5240430 (3d Cir. July 24, 2020).

       Plaintiff requests that this Court freeze the assets of Defendants, in an attempt to recover

monetary damages for his time in prison. Plaintiff has also presented the Court with a four-page

exposé of the calculated damages drawn up against all defendants, including Sher Tremonte

Defendants. (See Amended Complaint ECF 3 pp. 28-31). This drafted accounting sheet

presented in the Amended Complaint, makes it clear that the damages Plaintiff seeks are only

monetary, and not equitable. Where the Plaintiff requests a preliminary injunction to freeze

assets, he must also prove equitable damages if he wishes the injunction to succeed. However,

Plaintiff has failed to offer the court with the necessary equitable relief, and therefore, his claim

to freeze Defendants assets will fail.

       Moreover, Plaintiff has made no argument as to why the relief should be immediate, or

why the relief would otherwise not be granted after the civil action commences. Plaintiff merely

alludes that Sher Tremonte Defendants are “dishonest and unethical.” (See Motion to Dismiss

ECF 3 pp. 9). Which is obviously not enough to meet the standard for a preliminary injunction.

       Plaintiff has also requested that the Court apply injunctive relief in his initial complaint,

to have the Sher Tremonte Defendants discontinue their relationship with each other to end the

so-called conspiracy against him. (See Amended Complaint ECF 3 p. 32). This is the only form




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of equitable relief that could possibly apply to Plaintiff’s claim. However, as stated in Sher

Tremonte Defendants’ motion to dismiss, there is no evidence to support a single allegation

made by Plaintiff in his Amended Complaint and, therefore, Plaintiff’s motion for injunctive

relief will only be supported by the request for monetary relief.

       Plainly stated, Plaintiff has attempted to waste Court’s resources in bringing this request,

and he fails to understand the legal requirements produce a request for injunctive relief. He is

unable to supplement this Court with a reason to allow him immediate preliminary relief. It is

clear that Plaintiff simply only seeks monetary support in this action for lost wages while

imprisoned. As stated above, freezing Sher Tremonte Defendants assets, in an attempt to

monetarily benefit once out of prison, is an erroneous application of legal precedent in federal

court and fails the test for irreparable harm. Therefore, this Court should deny Plaintiff’s motion

for injunctive relief to freeze Sher Tremonte Defendant’s assets.

                                          CONCLUSION

       For the foregoing reasons, Sher Tremonte Defendants request that this Court deny

Plaintiff’s motion for injunctive relief as he has not met the standard for such relief.




                                               Respectfully submitted,

                                               KAUFMAN DOLOWICH & VOLUCK, LLP
                                               Attorney for Defendants, Sher Tremonte, LLP
                                               Justin M. Sher, Michael Tremonte, Noam Korati
                                               Biale and Anna Maria Estevao

                                               By:             /s/Robert A. Berns
                                                               ROBERT A. BERNS

DATED: November 21, 2022




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